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                                No. 2024-2211


               UNITED STATES COURT OF APPEALS
                  FOR THE FEDERAL CIRCUIT



       NOVARTIS PHARMACEUTICALS CORPORATION, Plaintiff-Appellant

                                       v.

MSN PHARMACEUTICALS INC., MSN LABORATORIES PRIVATE LIMITED, MSN LIFE
SCIENCES PRIVATE LIMITED, GERBERA THERAPEUTICS, INC., Defendants-Appellees



   Appeals from the United States District Court for the District of Delaware,
     Nos. 20-2930-RGA and 22-1395-RGA, Judge Richard G. Andrews.


       NOVARTIS PHARMACEUTICALS CORPORATION’S
  NON-CONFIDENTIAL EMERGENCY MOTION FOR INJUNCTION
            PENDING APPEAL AND TO EXPEDITE




  CHRISTOPHER E. LOH                        DEANNE E. MAYNARD
  JARED L. STRINGHAM                        SETH W. LLOYD
  VENABLE LLP                               MORRISON & FOERSTER LLP
  151 W. 42nd Street, 49th Floor            2100 L Street NW, Suite 900
  New York, NY 10036                        Washington, DC 20037
                                            Tel.: (202) 887-8740
                                            DMaynard@mofo.com

              Counsel for Novartis Pharmaceuticals Corporation

AUGUST 13, 2024
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                         CERTIFICATE OF INTEREST

Counsel for Novartis Pharmaceuticals Corporation certify under Federal Circuit
Rule 47.4 that the following information is accurate and complete to the best of their
knowledge:

1.    Represented Entities. Provide the full names of all entities represented by
undersigned counsel in this case.

Novartis Pharmaceuticals Corporation.

2.     Real Parties in Interest. Provide the full names of all real parties in interest
for the entities. Do not list the real parties if they are the same as the entities.

None.

3.     Parent Corporations and Stockholders. Provide the full names of all parent
corporations for the entities and all publicly held companies that own 10% or more
stock in the entities.

Novartis AG.

4.    Legal Representatives. List all law firms, partners, and associates that (a)
appeared for the entities in the originating court or agency or (b) are expected to
appear in this court for the entities. Do not include those who have already entered
an appearance in this court.

MCCARTER & ENGLISH, LLP: Daniel M. Silver, Alexandra M. Joyce.

SCHRADER COMPANION DUFF & LAW PLLC: Sandra K. Law, James F. Companion.

VENABLE LLP: Christina Schwarz, Nicholas N. Kallas, Gregory J. Manas, Laura K.
Fishwick, Melinda R. Roberts, Shannon K. Clark, Susanne L. Flanders, Whitney M.
Howard, Maliheh Zare

5.     Related Cases. Other than the originating case(s) for this case, are there
related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?

No.


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6.    Organizational Victims and Bankruptcy Cases. Provide any information
required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases) and
26.1(c) (bankruptcy case debtors and trustees).

Not applicable.

Dated: August 13, 2024                              /s/ Deanne E. Maynard
                                                      Deanne E. Maynard




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                         CONFIDENTIAL MATERIAL OMITTED

In the non-confidential version of this brief, pages 2, 13, 22-23, and 25-26 omit
material describing Novartis’s and MSN’s confidential financial information and
MSN’s manufacturing information.




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ANDA                       Abbreviated new drug application

API                        Active pharmaceutical ingredient

FDA                        United States Food and Drug Administration

TVS                        Trisodium valsartan sacubitril complex




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                 FEDERAL CIRCUIT RULE 8 STATEMENT

      Novartis Pharmaceuticals Corporation seeks an immediate temporary

injunction pending this motion’s resolution and an emergency injunction pending

appeal enjoining MSN from launching at risk a competing generic equivalent of

Novartis’s patented drug ENTRESTO®. 1 This suit is one of several necessitated by

the efforts of MSN and other generic drugmakers to seek FDA approval for generic

products before the expiration of Novartis’s patents. On July 24, 2024, the FDA

approved MSN’s ANDA to market a generic equivalent. The parties had previously

agreed to allow time for court proceedings on injunctive relief before any at-risk

launch, but the district court declined to extend that agreement on August 1, 2024.

Add112-114; Add213-82. The district court instead invited the parties to brief any

request for emergency injunctive relief with the expectation that MSN is planning

an imminent launch. Oral Order, In re Entresto (Sacubitril/Valsartan) Pat. Litig.,

No. 1:20-md-02930 (D. Del. Aug.1, 2024), ECF1420. On August 2, Novartis moved

in district court for a preliminary injunction in this proceeding involving U.S. Patent

No. 11,096,918 or in the alternative “a stay of any at-risk launch” long enough for

Novartis to seek relief in this Court.      Add283-309.     Novartis also sought an

injunction pending resolution of its fully briefed appeals in a separate action


      1
        “MSN” refers collectively to MSN Pharmaceuticals Inc., MSN Laboratories
Private Limited, and MSN Life Sciences Private Ltd.

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involving U.S. Patent No. 8,101,659. Mot. Rule 62(d) Inj. Pending Appeal, In re

Entresto (Sacubitril/Valsartan) Patent Litig., ECF1432. After a hearing, the district

court ordered the parties “to maintain the status quo” until it ruled. Order, In re

Entresto, ECF1455. On August 12, 2024, at approximately 2PM ET, the district

court denied Novartis’s request for a preliminary injunction on the ’918 patent but

granted a limited 72-hour “stay to allow Novartis to seek injunctive relief from the

Federal Circuit,” again ordering the parties “to maintain the status quo.” Add10

(internal citation omitted). The district court stated that Novartis failed to show it

was likely to succeed in proving infringement. Add4-6. The district court also stated

that Novartis failed to demonstrate irreparable harm because it believed Novartis’s

harms could be remedied with monetary damages that MSN would have the ability

to pay. Add6-9. And it believed the equities weighed against an injunction. Add9-

10.

      Novartis seeks an immediate injunction, pending this Court’s resolution of

this motion for an injunction pending appeal, and then an injunction pending

resolution of Novartis’s appeal. Separately, Novartis is filing a motion in this Court

seeking an injunction pending appeal in Appeal Nos. 2023-2218, 2023-2219, 2023-

2220, and 2023-2221. Novartis notified MSN of this motion. MSN opposes and

agreed to respond within 3 days (on Friday, August 16, 2024) with Novartis to reply

within 3 days (on Monday, August 19, 2024).

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                                 INTRODUCTION

        Novartis scientists created a lifesaving heart-failure treatment:      a new

pharmaceutical combination of two drugs, valsartan and sacubitril.            Sold as

ENTRESTO®, the combination therapy has become the preferred first-line treatment

for heart failure in adults with reduced ejection fraction—and Novartis’s top-selling

drug.

        MSN intends to launch at-risk its generic competitor, which infringes patents

Novartis holds related to its groundbreaking valsartan-sacubitril treatment. Here,

the ’918 patent claims a novel form of the valsartan-sacubitril combination: a

compound comprising anionic valsartan, anionic sacubitril, and sodium cations non-

covalently bound in a 1:1:3 molar ratio (“TVS”). The ’918 patent specifically claims

the amorphous solid form of this compound.

        This Court should temporarily enjoin MSN’s launch pending this appeal on

Novartis’s preliminary-injunction motion. Novartis is likely to succeed on appeal

because the district court made multiple errors.

        First, the district court incorrectly read a limitation into the term “an

amorphous solid form of a compound,” believing it required the amorphous form of

TVS to “predominate” over an unrecited form, crystalline TVS. But neither the

claim language, the specification, nor the prosecution history supports giving the

claim anything other than its plain meaning: amorphous TVS means amorphous
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                CONFIDENTIAL MATERIAL OMITTED


TVS. And because expert testing reveals that MSN’s products contain amorphous

TVS, they infringe.

      MSN’s generic infringes under the district court’s construction too. That

construction requires that when both amorphous TVS and crystalline TVS are

present, amorphous TVS must predominate over crystalline TVS. Testing reveals

that MSN’s products contain no crystalline TVS, so the amorphous form of TVS

necessarily predominates. The district court erred in finding Novartis was not likely

to so prove.

      Second, introducing a generic ENTRESTO® competitor will inflict massive

financial damage to Novartis. That damage will be irreparable, including because it

will permanently erode ENTRESTO®’s price; cannot be accurately calculated; and

                      MSN financial information                                 . The

district court concluded otherwise by adopting MSN’s unsupported assertions and

overlooking the many decisions from this Court recognizing that similar facts suffice

to show irreparable harm.

      Finally, the equities further favor an injunction pending appeal. Again, the

harm to Novartis from generic launch will be irreparable. The public interest will

also suffer: the public has a strong interest in honoring the bargain of disclosure for

a limited patent term, and a premature launch will imperil Novartis’s ability to

maintain programs benefiting physicians and patients.



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      The Court should immediately enjoin MSN’s launch pending this motion’s

resolution, and then enjoin MSN’s launch pending appeal, with expedited briefing

and argument as soon as practicable.

                                BACKGROUND

      A.     The ’918 Patent Claims an Amorphous Solid Form of Trisodium
             Valsartan-Sacubitril Complex

      Novartis scientists developed multiple inventions on the path to

ENTRESTO®, which has become the preferred first-line therapy for heart failure in

adults with reduced ejection fraction. Add916(¶26). As relevant here, the ’918

patent claims a “dual-acting compound” or “complex” of two active ingredients:

valsartan and sacubitril. The “complex” is a supramolecular structure in which

anionic valsartan, anionic sacubitril, and sodium cations are non-covalently bound

in a 1:1:3 molar ratio. Add92(col.6:55-61). That structure is “beneficial over”

“simply physically mixing two active agents,” thus improving “use as a first line

therapy, ease of formulation, and ease of manufacture.” Add98(col.17:46-51);

Add103(col.28:27-32).

      Claim 1 of the ’918 patent recites:

             1. An amorphous solid form of a compound comprising
                anionic      (S)-N-valeryl-N-{[2’-(1H-tetrazole-5-yl)-
                biphenyl-4-yl]-methyl}-valine, anionic (2R,4S)-5-
                biphenyl-4-yl-4-(3-carboxy-propionylamino)-2-
                methyl-pentanoic acid ethyl ester, and sodium cations
                in a 1:1:3 molar ratio.



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Add105(col.32:42-46). The recited chemical names refer to valsartan and sacubitril.

Add792-793(¶11). Anionic valsartan and anionic sacubitril have charges balanced

by sodium cations when combined in a 1:1:3 molar ratio. Add792-793(¶11). The

resulting non-covalent bonds yield a complex referred to as Trisodium Valsartan

Sacubitril, or “TVS.” Add792-792(¶11); Add742(¶12). The claims cover TVS in

an “amorphous” form (meaning a form lacking long-range three-dimensional order)

as opposed to a crystalline form (which has an ordered, repeating, three-dimensional

pattern).

      The specification explains that the claimed compound “is characterized by

very distinct spectral peaks and shifts that are not observed in the physical mixture.”

Add98(col.17:46-58).        A skilled artisan would understand that this refers to

spectroscopic analytical techniques, including Raman spectroscopy, disclosed in the

specification. Add793(¶13). Raman spectroscopy uses scattering from a laser to

identify substances by “comparing the experimental Raman spectra obtained from

the sample to the reference Raman spectra of known compounds.” Add793(¶13);

Add799-800(¶¶36-37). It can “detect the presence of non-covalent bonds between

valsartan and sacubitril,” which “are not present in a physical mixture.”

Add742(¶13).

      Example 1 of the ’918 patent describes a process for making a “glassy solid”

using starting materials including sacubitril free acid and valsartan free acid.



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Add103(col.28:37-54). A person of skill would have understood that the “glassy

solid” disclosed in Example 1 is amorphous TVS.             Add882-884(¶¶114-116);

Add744-756(¶¶19, 22-23, 25-42); Add344(897:11-19).

      In this MDL proceeding, the district court “stated on the record” after trial that

it was “going to find for Novartis” on other generic manufacturers’ invalidity

challenges to the ’918 patent. Add343-348(896:24-901:7). It then read from the

bench a decision explaining the reasons why it would uphold the patent’s validity.

Add343-348(896:24-901:7) (subsequently settled).            The patent expires on

November 8, 2026. Add83.

      B.     Novartis Sued MSN for Infringement of the ’918 Patent

      Novartis sued MSN for infringement of the ’918 patent after MSN sought

approval to market generic ENTRESTO®. Add38. Expert discovery is ongoing,

with trial scheduled in December 2024. Add130-131.

             1.    Claim construction

      The sole disputed phrase was “[a]n amorphous solid form of a compound.”

Add141. The district court construed that phrase to mean “a solid form of a

compound in which the amorphous form of the compound predominates.” Add16.

In doing so, it rejected Novartis’s argument that the claim language should be given

its plain meaning. Add16; Add141-150; Add165-175. The court also rejected

MSN’s position that “[a]n amorphous solid form of a compound” really meant “a



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substantially pure amorphous solid form of a compound.” Add16; Add19 (emphasis

added). Instead, the district court construed the disputed term to mean that “[a]n

amorphous solid form is mutually exclusive from a crystalline solid form, but not

necessarily mutually exclusive from a partially crystalline solid form.” Add16.

              2.    Preliminary-injunction proceedings

        On July 24, 2024, the FDA approved MSN’s ANDA. Add216. Novartis

sought a preliminary injunction; MSN opposed, asserting no validity challenge; and

the district court heard argument. Add1, 4; Add285-309; Add1329-1423; Add1301-

1328.

        On August 13, 2024, the district court denied Novartis’s preliminary-

injunction request but granted a limited 72-hour “stay to allow Novartis to seek

injunctive relief from the Federal Circuit.” Add10 (citation omitted). In so ruling,

the district court applied its claim construction and concluded Novartis was unlikely

to prove that the amorphous TVS in MSN’s products predominates over the

crystalline TVS. Add4-6. It also concluded the balance of the harms weighed

against a longer injunction. Add9-10.

        In addition to seeking relief here, Novartis has challenged MSN’s approval

under the Federal Food, Drug, and Cosmetic Act. Novartis Pharms. v. Beccera,

No. 1:24-cv-2234 (D.D.C.).




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                                   ARGUMENT

      All factors favor enjoining MSN from launching: Novartis has a strong

likelihood of prevailing on appeal because it is likely to show infringement and will

suffer immense and irreparable harm absent injunctive relief; and the equities and

public interest warrant an injunction. Standard Havens Prods. v. Gencor Indus., 897

F.2d 511, 512 (Fed. Cir. 1990).

I.    NOVARTIS WILL LIKELY SUCCEED ON APPEAL

      A.     Novartis Will Likely Show Infringement

      The district court applied the wrong claim construction, and Novartis likely

will prove infringement under the correct construction. Novartis is likely to prove

infringement under the district court’s construction too, and the court erred in

concluding otherwise.

             1.     The district court erroneously read limitations into the claims,
                    and Novartis will likely prove infringement under the correct
                    construction

      Where a district court bases a preliminary-injunction ruling on an earlier claim

construction, this Court has jurisdiction to review that construction in a preliminary-

injunction appeal. Microchip Tech. v. Scenix Semiconductor, No. 99-1300, 2000

WL 945308, at *2-3 (Fed. Cir. June 16, 2000).             This Court reviews claim

constructions de novo where, as here, they turn on interpreting intrinsic evidence.

Id.



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                    a.      The district court erred in construing “an amorphous
                            solid form of a compound” as requiring comparison to
                            an unclaimed form

      Claim 1 of the ’918 patent is drawn to “an amorphous solid form of [TVS]”

and nothing more.        Add105(col.32:42-46).    The court’s construction, though,

requires “a solid form of a compound in which the amorphous form of the compound

predominates”—meaning the amorphous TVS form must “predominate” over

another form “of the compound,” that is, over any crystalline TVS present. Add16.

This was error.

      The plain claim language does not require comparing the claimed amorphous

TVS to the unclaimed crystalline TVS, let alone require that amorphous TVS

“predominate” over crystalline TVS.           Add105(col.32:42-49).    Nor does the

specification or prosecution history. Add90-108; Add187-199. Indeed, none of the

intrinsic evidence suggests that comparing amorphous and crystalline TVS is

necessary for a skilled artisan to determine what subject matter falls within claim 1’s

scope. Add90-108; Add187-199. Claim 1 is explicit in what it covers: “[a]n

amorphous solid form of a compound comprising anionic [valsartan], anionic

[sacubitril] and sodium cations in a 1:1:3 molar ratio.” Add105(col.32:42-49). No

further construction is required.

      As the district court itself acknowledged, the amorphous and crystalline forms

of TVS are distinct and “mutually exclusive.” Add18-19. In view of the undisputed



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categorical distinction between amorphous TVS and crystalline TVS, any

comparison between them to determine which “predominates” is superfluous to

understanding claim 1. Amorphous TVS is amorphous TVS. Its presence in any

environment (including in MSN’s products) by itself infringes claim 1—without

regard to whether the unclaimed crystalline form of TVS also is present alongside

amorphous TVS, and in what amounts.

      Nothing Novartis said during prosecution disclaimed the claims’ plain

meaning. Although the district court pointed to a non-obviousness declaration

submitted during prosecution of the ’918 patent (Add17-18; Add21-22), that

declaration, by Dr. Michael Cima, neither supports the district court’s construction

nor invites any comparison of the claimed amorphous TVS to unclaimed crystalline

TVS. It does precisely the opposite. Dr. Cima’s declaration notes the ways in which

amorphous and crystalline forms differ generally, and asserts that, just because a

crystalline form of a particular compound can be made, an amorphous form of that

compound would not be easier to make and would not be obvious from the

crystalline form. Add201-212. Ultimately, Dr. Cima’s declaration stands for the

proposition that amorphous TVS is its own unique invention from other TVS forms,

like crystalline.   In any event, nothing in that declaration dictates a claim

construction: a “description of characteristics does not redefine a compound with




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an established and unambiguous structural definition.” SmithKline Beecham v.

Apotex, 403 F.3d 1331, 1339 (Fed. Cir. 2005).

      Last, because the intrinsic evidence for the ’918 patent itself provides no

support for the district court’s construction, the court improperly looked to a purity

limitation in different claims from a related set of patents—Nos. 8,877,938 and

9,388,134. Add16-17. The ’938 and ’134 patents disclose and claim a different

invention: crystalline trisodium sacubitril-valsartan hemipentahydrate (“crystalline

TSVH”). During claim construction for those patents, the district court imposed a

“substantially pure” limitation on claims drawn to crystalline TSVH. In re Entresto

(Sacubitril/Valsartan) Pat. Litig., No. 20-mc-2930-LPS, 2021 WL 2856683, at *4-

5. (D. Del. July 8, 2021); Add37. Because the “substantially pure” limitation in the

’938 and ’134 patents required considering unclaimed substances that might be

present alongside crystalline TSVH (i.e., potential impurities of crystalline TSVH),

the district court reasoned that the presence of unclaimed substances also needed to

be considered for claim 1 of the ’918 patent. That was error.

      During prosecution of the ’938 and ’134 patents, Novartis and the Examiner

agreed that claims directed to crystalline TSVH should include a “substantially pure”

limitation. Add189; Add197-198. But there was no similar colloquy or agreement

between Novartis and the Examiner during the ’918 patent prosecution. Nor was

there any other indication in the intrinsic evidence for the ’918 patent that its



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claims—drawn to amorphous TVS, a different invention—should include a

“substantially pure” limitation. Because the crystalline TSVH claims of the ’938

and ’134 patents differ materially from the amorphous TVS claims of the ’918

patent, and arise from a different prosecution history, the district court erred in

relying upon the “substantially pure” limitation of those different patents to justify

limiting the ’918 patent’s claims. See Ventana Med. Sys., Inc. v. Biogenex Lab’ys,

Inc., 473 F.3d 1173, 1182 (Fed. Cir. 2006) (“[T]he doctrine of prosecution

disclaimer generally does not apply when the claim term in the descendant patent

uses different language.”).

                   b.     Under the proper construction, Novartis is likely to
                          prove infringement

      Under the correct construction, MSN’s products will infringe because they

contain amorphous TVS, as demonstrated by testing conducted by Novartis’s expert,

Dr. Adam Matzger. Add810-823(¶¶57-73). Dr. Matzger collected thousands of

experimental Raman spectra from samples of MSN’s products. Add799-800(¶¶36-

37); Add465-546. Dr. Matzger then compared those experimental Raman spectra to

reference Raman spectra to map the substances found in the samples. Add812-

822(¶¶60-68). This comparison revealed regions of separate crystalline valsartan

disodium (green), separate crystalline sacubitril sodium (red), and amorphous TVS

(bright yellow) within the ANDA products:




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Add814(¶61). Experimental Raman spectra from the regions shown in bright yellow

show amorphous TVS in MSN’s products. The spectrum below illustrates the close

match between Dr. Matzger’s experimental Raman spectra from these regions

(black) and the reference spectrum for amorphous TVS (red).




Add1308; Add815-816(¶62).

      The amorphous TVS reference spectrum in red was provided by Dr. Park,

another of Novartis’s experts, who prepared and characterized amorphous TVS


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using techniques described in the patent. Add799-800(¶37); Add745-751(¶¶22-23,

29-33); see Add430-431; Add444; Add746-759(¶¶25-28, 34-38, 47); Add344-

345(897:11-898:2). Dr. Matzger’s experimental spectra display the distinctive

spectral properties of amorphous TVS shown in the reference spectrum: peaks at

about 1287 cm-1, 1605 cm-1 and 1612 cm-1, and, in the 800–900 cm-1 range, an

upward slope over a small frequency range peaking around 810 cm-1 followed by a

downward-sloping portion lacking clearly defined peaks. Add814-819(¶¶61-63);

see Add828-830(¶¶90-96) (explaining why this combination of features is helpful to

distinguish amorphous TVS).      No other material in MSN’s products besides

amorphous TVS displays this combination of spectral features. Add812-830(¶¶60-

65, 89-96). These results therefore show that MSN’s products contain infringing

amorphous TVS.

      Dr. Matzger’s experimental spectrum matches his reference for amorphous

TVS better than it matches any other reference spectrum in this case. Add828-

830(¶¶90-96). And Dr. Matzger also explained how amorphous TVS is introduced

into MSN’s product:             MSN manufacturing information




                 Add822-823(¶72); Add697; Add703; Add651; Add655; Add550.




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      The district court had no basis to disagree. Citing MSN’s argument that the

Raman peaks on which Dr. Matzger relies to identify amorphous TVS “more closely

match the peaks in MSN’s Form-S reference spectra than those in the amorphous

reference spectra,” the district court thought MSN’s expert “undermines Dr.

Matzger’s conclusions.” Add5. But the supposed “match” with “Form S”—MSN’s

isolated active pharmaceutical ingredient (API)—is illusory. The figure below

compares Dr. Matzger’s experimental testing spectrum (black) with Dr. Park’s

amorphous TVS reference spectrum (red) and MSN’s reference spectrum for “Form

S” (blue).




Add1326; Add1295. The overlaid spectra show that the experimental spectrum

(black) better matches the amorphous reference (red) than it does MSN’s “Form S”

reference spectrum (blue). For example, the experimental spectrum (black) and


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amorphous reference (red) both include the downward slope without distinct peaks

from 810-900 cm-1 and matching peaks at 1287 and 1605 cm-1. See Add815-

816(¶62), Add830-831(¶¶95-96).       The strong match between the experimental

spectrum Dr. Matzger collected and the amorphous reference spectrum proves there

is amorphous TVS in MSN’s products.

      In short, with Dr. Matzger’s testing, Novartis’s showing of infringement under

the correct claim construction will be straightforward: regardless of the make-up of

the rest of MSN’s generic products, they contain small regions of amorphous TVS.

Those regions are enough to infringe. See SmithKline, 403 F.3d at 1341 (affirming

that even “trace amount” of claimed compound in accused ANDA product

infringes). The district court clearly erred in finding Novartis unlikely to meet its

burden to so prove.

             2.    Even under the district court’s claim construction, Novartis
                   will likely succeed in proving infringement

      The outcome will be the same under the district court’s claim construction.

That construction governs only the possible forms of TVS in the product, not other

components. The construction requires “a solid form of a compound in which the

amorphous form of the compound predominates.” Add16 (emphasis added). The

claimed “compound” is TVS. The court’s claim construction means, then, that

where there is a combination of amorphous TVS and crystalline TVS, the amorphous

form must predominate over the crystalline. Add795-797(¶¶23-29). As discussed


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above, there is amorphous TVS in MSN’s products. And Dr. Matzger’s testing

reveals that the TVS is predominantly amorphous because the rest of the API in the

products is not TVS but a physical mixture of separate valsartan disodium and

separate sacubitril sodium. Because there is no crystalline TVS in MSN’s products,

the amorphous TVS necessarily “predominates” over nonexistent crystalline TVS.

      Multiple analyses by Dr. Matzger confirm that, along with small amounts of

amorphous TVS, MSN’s products comprise regions of separate valsartan disodium

and sacubitril sodium rather than crystalline TVS. First, Raman mapping of samples

of MSN’s tablet, shown below, shows regions of crystalline valsartan disodium

(green) and separate regions of crystalline sacubitril sodium (red). Below the maps

are the Raman spectra in each region, showing a close match between the

experimental spectra (red) and reference spectra (blue) that Dr. Matzger obtained for

each substance. See Add799-801(¶¶37, 39-41).




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Add812(¶60).




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Add812(¶60).

      Second, Raman mapping from samples of MSN’s isolated API (not yet in the

final dosage form) likewise shows a heterogeneous, or physical, mixture of the two

separate substances. Add801-802(¶¶42-43). The entire sample was those two

substances, meaning crystalline TVS was absent. Add804(¶44).

      Finally, X-ray microdiffraction on MSN’s API also shows a heterogeneous

physical mixture. X-ray microdiffraction is similar to the X-Ray Powder Diffraction

(XRPD) on which MSN has focused, but microdiffraction is performed on small

particles rather than bulk samples and so can detect heterogeneity that XRPD could

not. Add805(¶46); Add827(¶86). Each microdiffraction sample produced a subset


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of the features present in the bulk XRPD data, indicating the isolated API is a

mixture of separate sacubitril sodium and separate valsartan disodium. Add805-

807(¶¶47-49).

      MSN obtained its own Raman spectra of the isolated API as part of this

litigation, and the results are consistent. MSN obtained spectra from two samples.

Tellingly, the spectra are different, showing heterogeneity in the API substance. As

Dr. Matzger explained, the differences indicate that the API is a physical mixture of

valsartan disodium and sacubitril sodium. Add832(¶¶99-100); Add1318.




Specifically, the first sample’s Raman spectrum corresponds to crystalline sacubitril

sodium alone. It matches Dr. Matzger’s spectrum for that substance with, for

example, a characteristic peak around 1281 cm-1. Add832(¶100); see Add818(¶64).

The additional peaks in the second sample’s Raman spectrum, for example at


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1299 cm-1, are due to the inclusion of crystalline valsartan disodium in the sample.

Add832(¶100); Add818(¶64).        The district court thought that the differences

between the first spectrum (orange) and the spectrum Dr. Matzger identified as a

physical mixture support “what appear to be valid criticisms” of Novartis’s test data.

Add5-6. But the differences are explained by the first sample being sacubitril

sodium alone, which is possible only in a sample from a heterogeneous physical

mixture. This explanation, coupled with what the district court recognized as

Novartis’s valid criticisms of MSN’s own data, means Novartis is likely to succeed

in proving that MSN’s isolated API contains no crystalline TVS (and thus

amorphous TVS predominates).

      These results leave no doubt about the composition of MSN’s products: they

contain a mixture of separate sacubitril sodium and separate valsartan disodium—

along with amorphous TVS but no crystalline TVS. Thus, the amorphous form of

the TVS compound necessarily predominates over the crystalline. That shows

Novartis is likely to succeed in proving infringement under the district court’s

construction. The district court clearly erred in finding otherwise.

      B.     Novartis Will Suffer Irreparable Harm Absent an Injunction

      MSN’s threatened at-risk launch will cause Novartis immediate irreparable

harm. Novartis will suffer a dramatic loss of market share, lose substantial profits,

and ENTRESTO®’s price will irreversibly erode. These are classic harms that



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support preserving the status quo pending appeal. Novartis is likely to show the

district court clearly erred in concluding otherwise.

              1.   Novartis has demonstrated substantial and irreparable harm

      “Evidence of head-to-head competition and lost market share can support a

showing of irreparable harm.” Natera v. NeoGenomics Lab’ys, 106 F.4th 1369,

1378 (Fed. Cir. 2024). So can evidence that “the alleged injury is not quantifiable.”

Id. This Court thus has recognized the harm, often irreparable, of forcing a patentee

to compete against an infringer in a market the patentee “created with its investment

in patented technology.” Douglas Dynamics v. Buyers Prods., 717 F.3d 1336, 1344-

45 (Fed. Cir. 2013); see Trebro Mfg. v. Firefly Equip., 748 F.3d 1159, 1170 (Fed.

Cir. 2014).

      Here, Novartis’s substantial investments in ENTRESTO® created a new

market, making ENTRESTO® Novartis’s top-selling drug. Add913-914(¶20). That

new market has generated $22 billion in cumulative worldwide sales and $3.067

billion in U.S. sales in 2023 alone. Add913-914(¶20). Novartis has consistently

identified ENTRESTO® as its top “key growth driver” in recent years. Add913-

914(¶20). Even Novartis’s own predictions likely underestimate ENTRESTO®’s

significance; Novartis has consistently under-forecasted ENTRESTO® sales.

Add931-933(¶¶58-60).




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       An at-risk launch will crater this market and destroy Novartis’s position in it.

As Dr. Vellturo explains, “[g]eneric entry invariably has a profound effect on the

demand for a price of the corresponding branded drug, ultimately leading to the

virtual extinction of the brand.”        Add923-924(¶40).       Those effects occur

immediately, with ENTRESTO® projected to lose %           of forecasted new-to-brand

prescriptions in the first month after a generic launch. Add929-930(¶54).

       The financial effects will be devastating. Entry of a single infringing generic

product would result in lost market share, sales, and price erosion resulting in lost

profits of at least   number     in four months. Add935(¶65). And if MSN’s at-risk

launch triggers the entry of additional infringing competitors, as expected, the

estimated losses will be far higher. Add935(¶65).

       For multiple reasons, these harms will be irreparable. First, there will be no

coming back from the price erosion an at-risk launch would cause. Large third-party

payers—private insurance plans, managed care organizations, Medicare, and

Medicaid—account for most prescription-drug spending. Add921-922(¶¶34-35).

These large payers “often refuse to agree to significant price increases and would

likely resist” efforts to restore ENTRESTO®’s price following price cuts from an at-

risk launch. Add937-938(¶69). This Court thus has recognized the irreparable harm

from irreversible price erosion and loss of goodwill caused by an infringing generic

competitor. Abbott Lab’ys v. Sandoz, 544 F.3d 1341, 1361-62 (Fed. Cir. 2008);



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Sanofi-Synthelabo v. Apotex, 470 F.3d 1368, 1382 (Fed. Cir. 2006). The district

court’s order does not address this irreversible harm. Add6-9.

      Second, the total damage is unquantifiable. Even Novartis has consistently

under-forecasted ENTRESTO®’s net revenues.           Add931-933(¶¶58-60).       That

dynamic reflects increased demand driven by “recent clinical trials and updated

clinical guidelines.” Add933(¶61). Any lost-profits calculation would thus be

difficult and likely understate Novartis’s actual damages. Add931-934(¶¶58-62);

see Celsis in Vitro v. CellzDirect, 664 F.3d 922, 930-31 (Fed. Cir. 2012)

(recognizing irreparable harm based on difficult-to-quantify losses).

      The district court’s injunction order disagreed, but only by overlooking the

factors making it likely Novartis will be undercompensated by a post-hoc damages

calculation. Add6-7. Nor could “actual sales and market data” from an at-risk

launch address the problem, as the district court believed. Add7 (n. 10). A generic

launch would change the market fundamentally, so once MSN launches, sales and

market data would not reflect the profits that ENTRESTO® would have earned in

the “but-for” world without generic competition. Add940-941(¶¶73-74).

      Third, it is exceedingly unlikely MSN could fully compensate Novartis’s

losses. Add934-937(¶¶63-67).           MSN and Novartis financial information



                                                     The district court stated it was



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“confident” in MSN’s ability to pay, but largely because it discounted Novartis’s

expected damages without a reasonable basis. Add7-8. It also seems to have

credited MSN’s baseless and speculative assertion that it might “mitigate” its

exposure by “acquir[ing] insurance coverage” or limiting distribution of its products.

Add8-9. If anything, that MSN has considered these options further undercuts its

unsupported representations that its current financial condition is sufficient to make

Novartis whole.

      Additionally, if Novartis proves infringement under 35 U.S.C. §271(e)(2) (as

is likely), it will be entitled—without any showing on the equities—to a stay of

MSN’s ANDA approval until the ’918 patent expires. 35 U.S.C. §271(e)(4)(A);

Vanda Pharms. v. West-Ward Pharms. Int’l, 887 F.3d 1117, 1138 (Fed. Cir.

2018). MSN’s at-risk launch would render that relief all-but worthless, further

demonstrating Novartis cannot be made whole after the judgment.

      Fourth, defendants’ at-risk launch could force Novartis “to scale down”

“investments,” including in “the ENTRESTO sales force” and “patient support

programs.” Add938(¶70). Novartis would be unable to restore these investments to

previous levels later. Add939(¶72). ENTRESTO®’s sales force also supports other

medications, and “[t]he accelerated reduction” in “sales force personnel and

resources would thus likely translate” to non-compensable lost sales for those

products. Add941(¶75). Reducing programs to educate patients and physicians



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about the relative superiority of valsartan-sacubitril treatments will lead to lost sales

volume “unlikely ever to be recovered.” Add940-941(¶74). The district court was

wrong to dismiss these harms as “profit-maximizing business decisions.” Add7.

This Court has recognized similar facts as supporting irreparable harm. Celsis, 664

F.3d at 930 (“loss of business opportunities”); Apotex, 470 F.3d at 1383 (“potential

reduction in work force”).

             2.     MSN’s infringement would cause Novartis’s harm

      The irreversible harm MSN’s at-risk launch causes will be the result of MSN’s

infringement. The causal nexus analysis is “flexible.” Apple v. Samsung Elecs., 809

F.3d 633, 641-642 (Fed. Cir. 2015) (“Apple IV”). It requires only “a showing of

some causal nexus” between the infringement and the harm. Apple v. Samsung

Elecs., 678 F.3d 1314, 1324 (Fed. Cir. 2012) (“Apple I”) (emphasis added). Where

(as here) the irreparable harm stems from competition with an infringing product,

the patentee need only “show ‘some connection’ between the patented features and

the demand for the infringing products” (Apple IV, 809 F.3d at 642), not that the

infringing features are “the exclusive or predominant” cause of the harm. Genband

US v. Metaswitch Networks, 861 F.3d 1378, 1383 (Fed. Cir. 2017) (quotation marks

and emphasis omitted).

      That standard is more than satisfied here.

                              MSN manufacturing information



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                       MSN manufacturing information




      That easily shows “some connection” between the infringement and

Novartis’s harm from MSN’s launch. Apple IV, 809 F.3d at 641. Indeed, this Court

recently confirmed that a patentee demonstrates causal nexus when infringement is

a prerequisite to offering the feature that drives demand. In Natera, the Court

concluded that an unclaimed feature—“highly sensitive tumor-informed testing”—

drove demand, and that the feature was “impossible to achieve without”

infringement. 106 F.4th at 1380. That was sufficient to “tie[]” consumer demand

(and thus the patentee’s harm) to the infringement. Id.

       MSN manufacturing information

      Nor does it matter that ENTRESTO® does not contain amorphous TVS. “In

multiple instances, this [C]ourt has held that a party that does not practice the

asserted patent may still receive an injunction when it sells a competing product.”

Trebro, 748 F.3d at 1171 (collecting cases, including from preliminary-injunction

context). Similarly, that the ’918 patent is not listed in the Orange Book for

ENTRESTO® does not defeat Novartis’s showing of irreparable harm. This Court



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has upheld a finding of irreparable harm and a preliminary injunction barring sales

of an infringing generic even though the infringed patent was not Orange Book-

listed. Glaxo Grp. v. Apotex, 376 F.3d 1339, 1344-45 (Fed. Cir. 2004); Glaxo Grp.

v. Apotex, 64 F. App’x 751, 756 (Fed. Cir. 2003).

II.   THE EQUITIES FAVOR AN INJUNCTION

      The equities and the public interest also favor an injunction. This Court has

“long acknowledged the importance of the patent system in encouraging

innovation.” Apotex, 470 F.3d at 1383. That is especially true in the pharmaceutical

context because the incentive to invest “in drug research and development” “would

be adversely affected by taking market benefits away from the patentee and giving

them to [an] accused infringer.” Celsis, 664 F.3d at 931-32. Those interests are

amplified here because, as explained, generic entry would also cause heart-failure

patients to suffer from reduced investments in patient-support programs and

educational campaigns. Add943-944(¶81). Such permanently reduced investment

in patient outreach may cause a significant number of heart-failure patients to forgo

treatment with any sacubitril/valsartan drug—whether ENTRESTO® or a generic—

thereby depriving them of the significant clinical benefits the combination offers

over other drugs. Add937-938(¶¶69-70). And contrary to the district court’s

reasoning, this harm cannot be offset by the availability of cheaper generics. Patients

who never learn about sacubitril/valsartan will not take it, regardless of its price.



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       The significant harm to Novartis and the public outweighs any harm MSN

would suffer.     The district court suggested MSN would lose a “first-mover

advantage,” but had no basis for that unsupported speculation given that other

generics are already approved and have chosen not to launch at risk. Contra Add9.

III.   THIS COURT SHOULD IMMEDIATELY ENTER A TEMPORARY
       INJUNCTION PENDING THIS MOTION’S RESOLUTION

       This Court should immediately enter a temporary injunction to maintain the

status quo while considering this motion. Federal appellate courts, including this

one, have regularly granted temporary relief to “freeze legal proceedings until the

court can rule on a party’s request for expedited relief.” United States v. Texas, 144

S. Ct. 797, 798 (2024) (Barrett and Kavanaugh, J.J., concurring) (collecting cases);

Marine Polymer Techs. v. HemCon, 395 F. App’x 701, 702 (Fed. Cir. 2010)

(granting administrative stay to preserve status quo). Rather than “consideration of

the merits of the stay application” the purpose is to “buy[] the court time to

deliberate” on the stay. Texas, 144 S. Ct. at 798.

IV.    THIS APPEAL SHOULD BE EXPEDITED

       MSN has agreed to this briefing schedule for this appeal:

       • Opening:         7 days (8/20)
       • Response:        7 days (8/27)
       • Reply:           3 days (8/30)
       • Appendix:        3 days (9/2)
       • Argument:        As soon as practicable.

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                                 CONCLUSION

      This Court should enjoin an at-risk launch of MSN’s generic versions of

ENTRESTO®, temporarily while resolving this motion and then until the appeal is

resolved, and expedite this appeal.

Dated: August 13, 2024                  Respectfully submitted,

CHRISTOPHER E. LOH                      /s/ Deanne E. Maynard
JARED L. STRINGHAM                      DEANNE E. MAYNARD
VENABLE LLP                             SETH W. LLOYD
151 W. 42nd Street, 49th Floor          MORRISON & FOERSTER LLP
New York, NY 10036                      2100 L Street NW, Suite 900
                                        Washington, DC 20037
                                        Tel.: (202) 887-8740
                                        DMaynard@mofo.com

               Counsel for Novartis Pharmaceuticals Corporation




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                       CERTIFICATE OF COMPLIANCE

       The foregoing filing complies with the relevant type-volume limitation of the

Federal Rules of Appellate Procedure and Federal Circuit Rules because the filing

has been prepared using a proportionally spaced typeface and includes 5,132 words,

excluding the parts of the brief exempted by the Rules.


Dated: August 13, 2024                               /s/ Deanne E. Maynard


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